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_________________________________________________________________________________

                                                      SO ORDERED,



                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                                  19-13444-JDW

HUBERT SHANE GOODE                                                                      CHAPTER 13
                 ORDER CONFIRMING CHAPTER 13 PLAN

        The debtor’s plan was filed on ___8/26/19___ , and amended/modified by subsequent order(s) of
the court, if any. The plan was transmitted to creditors pursuant to Bankruptcy Rule 3015. The court
finds     that    the   plan      meets    the    requirements      of   11    U.S.C.    §     1325.

IT IS ORDERED THAT:

1. The debtor’s chapter 13 plan attached hereto is confirmed.

2. The following motions are granted (if any):

   a. Motion for valuation of security, payment of fully secured claims, and modification of
      undersecured claims made under Rule 3012 (§ 3.2 of the plan);
   b. Motion to avoid lien pursuant to Section 522 (§ 3.4 of the plan).

3. The stay under Section 362(a) is terminated as to the collateral only and the stay under Section 1301
   is terminated in all respects regarding collateral listed in Section 3.5 of the plan (if any).

4. All property shall remain property of the estate and shall vest in the debtor only upon entry of
   discharge. The debtor shall be responsible for the preservation and protection of all property of the
   estate not transferred to the trustee.

5. The debtor’s attorney is awarded a fee in the amount of $_3,600.00__, of which $3,600.00 is due and
   payable from the estate.

                                        ##END OF ORDER##
Approved:
/s/Karen B. Schneller
Attorney for the Debtor

Submitted by:
Locke D. Barkley, Ch. 13 Trustee 6360 I-55 North, Suite 140
Jackson, Miss. 39211
(601) 355-6661
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Fill in this information to identify your case:

                    +XEHUW6KDQH*RRGH
Debtor 1          __________________________________________________________________
                    First Name                  Middle Name                 Last Name


                                                                                                                                 Check if this is an amended
Debtor 2            ________________________________________________________________
                                                                                                                                    plan, and list below the
(Spouse, if filing) First Name                  Middle Name                 Last Name
                                                                                                                                    sections of the plan that have
                                                                                                                                    been changed.
                                            1257+(51
United States Bankruptcy Court for the: ______________________ District of Mississippi                                           2.2, 3.1(b), 3.2, 3.4, 3.5
                                                                                                                                _________________________________

                                                                                                                                _________________________________
Case number             
                    ___________________________________________
(If known)




 Chapter 13 Plan and Motions for Valuation and Lien Avoidance                                                                                               12/17


      Part 1:             Notices

 To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans
                        that do not comply with local rules and judicial rulings may not be confirmable. The treatment of ALL secured and
                        priority debts must be provided for in this plan.

                        In the following notice to creditors, you must check each box that applies.

 To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                        objection to confirmation on or before the objection deadline announced in Part 9 of the Notice of Chapter 13
                        Bankruptcy Case (Official Form 309I). The Bankruptcy Court may confirm this plan without further notice if no objection
                        to confirmation is filed. See Bankruptcy Rule 3015.
                        The plan does not allow claims. Creditors must file a proof of claim to be paid under any plan that may be confirmed.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not
                        the plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked,
                        the provision will be ineffective if set out later in the plan.


      1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                  Included        Not included
                payment or no payment at all to the secured creditor

      1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                   Included        Not included
                Section 3.4

      1.3       Nonstandard provisions, set out in Part 8 .1                                                                     Included        Not included




                                                                       Mississippi Chapter 13 Plan                                                          Page 1
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Part 2:       Plan Payments and Length of Plan

2.1 Length of Plan.
                                           
The plan period shall be for a period of _____ months, not to be less than 36 months or less than 60 months for above median income debtor(s). If
fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
creditors specified in this plan.




2.2 Debtor(s) will make regular payments to the trustee as follows:
                   229.00
Debtor shall pay $___________     ( monthly,  semi-monthly,  weekly, or  bi-weekly) to the chapter 13 trustee. Unless otherwise ordered
by the court, an Order directing payment shall be issued to the debtor’s employer at the following address:

                              Marshall County Board of Supervisors
                              ___________________________________

                              P. O. Box 219
                              ___________________________________

                              Holly Springs, MS 38635
                              ___________________________________

Joint Debtor shall pay $___________ ( monthly,  semi-monthly,  weekly, or  bi-weekly) to the chapter 13 trustee. Unless otherwise
ordered by the court, an Order directing payment shall be issued to the joint debtor’s employer at the following address:

                              ___________________________________

                              ___________________________________

                              ___________________________________



2.3 Income tax returns/refunds.

     Check all that apply .
     
      Debtor(s) will retain any exempt income tax refunds received during the plan term.
     
      Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
          and will turn over to the trustee all non-exempt income tax refunds received during the plan term.
     
      Debtor(s) will treat income tax refunds as follows:
          ____________________________________________________________________________________________________
          ____________________________________________________________________________________________________
2.4 Additional payments.

     Check one.
     
      None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
     
      Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated
          amount, and date of each anticipated payment.
          ___________________________________________________________________________________________________________
          ___________________________________________________________________________________________________________




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Part 3::       Treatment of Secured Claims


3.1 Mortgages. (Except mortgages to be crammed down under 11 U.S.C. § 1322(c)(2) and identified in § 3.2 herein.)

     Check all that apply.
          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
3.1(a)Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to 11
        U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent with
        the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
        herein.
                                                                                                **dkt 25
                           Bank of Holly Springs                   9/2019
                                                                        1,223.66
           1st Mtg pmts to ____________________ Beginning __________@ $________ Plan Direct. Includes escrow  Yes  No

           2nd Mtg pmts to ____________________ Beginning __________@ $________ Plan Direct. Includes escrow  Yes  No

           3rd Mtg pmts to ____________________ Beginning __________@ $________ Plan Direct. Includes escrow  Yes  No


           1st Mtg arrears to ___________________ Through __________________$________________

           2nd Mtg arrears to ___________________ Through __________________$________________

           3rd Mtg arrears to ___________________ Through __________________$________________
3.1(b)Non-Principal Residence Mortgages: All long term secured debt which is to be maintained and cured under the plan pursuant to
        11 U.S.C. § 1322(b)(5) shall be scheduled below. Absent an objection by a party in interest, the plan will be amended consistent
        with the proof of claim filed by the mortgage creditor, subject to the start date for the continuing monthly mortgage payment proposed
        herein.
                                  3185 HWY 349, Potts Camp, MS                **dkt 25
           Property 1 address: _______________________________
                                                                     248.00
           Mtg pmts to _____________________ Beginning __________ @ $________ Plan Direct. Includes escrow  Yes  No
                        Bank of Holly Springs           9/2019


           Property 2 address:_______________________________
           Mtg pmts to _____________________ Beginning __________ @ $________ Plan Direct. Includes escrow  Yes  No

           Property 3 address:_______________________________
           Mtg pmts to _____________________ Beginning __________ @ $________ Plan Direct. Includes escrow  Yes  No


           Property 1: Mtg arrears to ___________________                   Through __________________$__________________

           Property 2: Mtg arrears to ___________________                   Through __________________$__________________

           Property 3: Mtg arrears to ___________________                   Through __________________$__________________.
3.1(c)Mortgage claims to be paid in full over the plan term: Absent an objection by a party in interest, the plan will be amended
        consistent with the proof of claim filed by the mortgage creditor.

             Creditor:_________________________                  Approx. amt. due: _____________________                  Int. Rate*: ____________

             Property Address: _____________________________

             Principle Balance to be paid with interest at the rate above: _________________
             (as stated in Part 2 of the Mortgage Proof of Claim Attachment)

             Portion of claim to be paid without interest: $____________
             (Equal to Total Debt less Principal Balance)

             Special claim for taxes/insurance: $______________/month, beginning ____________.
             (as stated in Part 4 of the Mortgage Proof of Claim Attachment)

             *Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.




           Insert additional claims as needed.


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 3.2 Motion for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

       None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
        The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

         Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
          amounts to be distributed to holders of secured claims, debtor(s) hereby move(s) the court to value the collateral described below at
          the lesser of any value set forth below or any value set forth in the proof of claim. Any objection to valuation shall be filed on or before
          the objection deadline announced in Part 9 of the Notice of Chapter 13 Bankruptcy Case (Official Form 309I).

          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of
          this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its
          entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim
          listed on the proof of claim controls over any contrary amounts listed in this paragraph.


                  Name of creditor              Estimated            Collateral                   Value of        Amount of             Interest
                                                amount of                                         collateral      secured               rate*
                                                creditor’s                                                        claim
                                                total claim#

                                                                                                                                                       *dkt 25
                 Bank of Holly Springs        $20,054.86            GMC Sonoma, jet skis          $ 6,000.00     $6,000.00             6.75%
                 Fidelity National Loans      $ 1,890.00            Mower, TV, weapons            $ 550.00       $ 550.00              6.75%
                 First Heritage Loans         $980.16               Living Room Furnishings       $ 500.00       $ 500.00              6.75%
                 First State Bank             $ 8,000.00            2003 Dodge and 1965 Mustang
                                                                                                  $5,500.00      $5,500.00             6.75%
                 Republic Finance             $3,491.96             weapons                       $ 650.00       $ 650.00              6.75%
                  7RZHU/RDQV                 2,834.61            WRROVZHDSRQV                                        
                   )LUVW+HULWDJH                          ZHDSRQV                                   *dkt 21
          #For mobile homes and real estate identified in § 3.2: Special Claim for taxes/insurance:

                  Name of creditor             Collateral            Amount per                   Beginning
                                                                     month




          *Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

          For vehicles identified in § 3.2: The current mileage is _____________________.



3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one.
       None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
       The claims listed below were either:
          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired
              for the personal use of the debtor(s), or

          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

          These claims will be paid in full under the plan with interest at the rate stated below. Unless otherwise ordered by the court, the claim amount
          stated on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
          the absence of a contrary timely filed proof of claim, the amounts stated below are controlling.




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          Name of creditor                        Collateral                                            Amount of                     Interest
                                                                                                        claim                         rate*




          *Unless otherwise ordered by the court, the interest rate shall be the current Till rate in this District.

       Insert additional claims as needed.


3.4 Motion to avoid lien pursuant to 11 U.S.C. § 522(b).

    Check one.
       None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

         The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
          which the debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or
          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order
          confirming the plan unless the creditor files an objection on or before the objection deadline announced in Part 9 of the Notice of
          Chapter 13 Bankruptcy Case (Official Form 309I). Debtor(s) hereby move(s) the court to find the amount of the judicial lien or security
          interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any, of the judicial lien or
          security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule
          4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

 Name of creditor               Property subject to lien            Lien amount to             Secured                     Type of lien             Lien identification
                                                                    be avoided                 amount                                               (county, court,
                                                                                               remaining                                            judgment date, date
                                                                                                                                                    of lien recording,
                                                                                                                                                    county, court, book
                                                                                                                                                    and page number)




        Insert additional claims as needed.



3.5 Surrender of collateral.

    Check one.
       None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
       The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that
          upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
          be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5
          below.


           Name of creditor                                                                    Collateral
           Bank of Holly Springs (claim #5)
           ______________________________________________________
                                                                                                2006 Saab - debtor is co-signer/co-owner with nephew, Ashley Z. Huey
                                                                                                _____________________________________________

          ______________________________________________________                                _____________________________________________


         Insert additional claims as needed.

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Part 4:       Treatment of Fees and Priority Claims

4.1 General

    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
    postpetition interest.



4.2 Trustee’s fees

    Trustee’s fees are governed by statute and may change during the course of the case.




4.3 Attorney’s fees
                     3,600.00
     No look fee: $__________.
          Total attorney fee charged:
                                           3,600.00
                                         $__________.

                                           0.00
          Attorney fee previously paid: $__________.

          Attorney fee to be paid in plan
          per confirmation order:
                                           3,600.00
                                          $__________.



     Hourly fee:     $__________. (Subject to approval of Fee Application.)




4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

    Check one.
       None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

       Internal Revenue Service                   $__________.


       Mississippi Dept. of Revenue               $__________.

       Other        _________________             $__________.



4.5 Domestic support obligations.

       None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
       DUE TO:       Brittney Goode
                     ___________________________________________

                     ___________________________________________

                     ___________________________________________

                                                              300.00                                  9/2019
       POST PETITION OBLIGATION: In the amount of $_____________ per month beginning _________________________.
       To be paid  direct,  through payroll deduction, or  through the plan.

       PRE-PETITION ARREARAGE: In the total amount of $_____________ through __________ which shall be paid in full over the plan term, unless
       stated otherwise:________________

       To be paid  direct,  through payroll deduction, or  through the plan.

       Insert additional claims as needed.




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Part 5:        Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the
    option providing the largest payment will be effective. Check all that apply.

                        5,180.00 $PRXQWHTXDOWRQRQH[HPSWSURSHUW\
             The sum of $___________.

             _______% of the total amount of these claims, an estimated payment of $_________.

            The funds remaining after disbursements have been made to all other creditors provided for in this plan.
            If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
                     Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least
            $__________.
            this amount.


5.2 Other separately classified nonpriority unsecured claims (special claimants). Check one.

       None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
               The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows

                Name of creditor                               Basis for separate               Approximate          Proposed
                                                               classification and               amount owed          treatment
                                                               treatment




Part 6:        Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
    and unexpired leases are rejected. Check one.

     None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
     Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
          to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
          by the trustee rather than by the debtor(s).

             Name of creditor             Description of leased      Current               Amount of          Treatment of arrearage
                                          property or executory      installment           arrearage to be
                                          contract                   payment               paid


              ____________________         __________________        $___________          $__________         __________________
                                                                     Disbursed by:
                                                                                                               __________________
                                                                      Trustee
                                                                      Debtor(s)

              ____________________         __________________        $___________          $__________         __________________
                                                                     Disbursed by:
                                                                                                               __________________
                                                                      Trustee
                                                                      Debtor(s)

          Insert additional contracts or leases as needed.



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Part 7:            Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon entry of discharge.



Part 8:            Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

      None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

   _____________________________________________________________________________________________________________

   _____________________________________________________________________________________________________________

   _____________________________________________________________________________________________________________

   _____________________________________________________________________________________________________________

   _____________________________________________________________________________________________________________



Part 9:            Signature(s):


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.



  8        +XEHUW6KDQH*RRGH
      _________________________________________                           8 _________________________________________
      Signature of Debtor 1                                                 Signature of Debtor 2

                     
      Executed on _________________                  DPHQGHG     Executed on __________________
                           MM / DD / YYYY                                                        MM / DD / YYYY
               +:<
             ______________________________                                     ______________________________
             Address Line 1                                                     Address Line 1

             ______________________________                                     ______________________________
             Address Line 2                                                     Address Line 2
               3RWWV&DPS06
             ______________________________                                     ______________________________
             City, State, and Zip Code                                          City, State, and Zip Code
               
             ______________________________                                     ______________________________
             Telephone Number                                                   Telephone Number




  8       .DUHQ%6FKQHOOHU            
      _________________________________________                      
                                                                     Date       
                                                                              _________________ DPHQGHG
      Signature of Attorney for Debtor(s)                                     MM / DD / YYYY

       32%R[
      ______________________________
      Address Line 1
         1RUWK6SULQJ6WUHHW
      ______________________________
      Address Line 2
         +ROO\6SULQJV06
      ______________________________
      City, State, and Zip Code

        
      ______________                        
                                         _________
      Telephone Number                   MS Bar Number

        NDUHQVFKQHOOHU#JPDLOFRP
      ______________________________
      Email Address




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